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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

 In re:                                               Chapter 11

 AGSPRING, LLC, et al.,                               Case No. 23-10699 (CTG)
                                                      (Jointly Administered)
                             Debtors.



                      ORDER SCHEDULING OMNIBUS HEARING DATE


                 IT IS HEREBY ORDERED, that the following omnibus hearing date has been

scheduled in the above-captioned cases:

                   DATE                            TIME

                   October 4, 2023                 3:00 p.m. prevailing Eastern Time




 Dated: September 13th, 2023              CRAIG T. GOLDBLATT
 Wilmington, Delaware                     UNITED STATES BANKRUPTCY JUDGE




DOCS_DE:243783.2 01213/002
